Opinion issued August 22, 2024




                                          In The

                                 Court of Appeals
                                         For The

                            First District of Texas
                               ————————————
                                 NO. 01-23-00757-CV
                          ———————————
                      RANBIR S. RANDHAWA, Appellant
                                            V.
     AMICK STORM MANAGEMENT, LLC D/B/A AMICK STORM
                  MANAGEMENT, Appellee

                    On Appeal from the 393rd District Court
                             Denton1 County, Texas
                       Trial Court Case No. 23-3799-393

                           MEMORANDUM OPINION
     Appellant Ranbir S. Randhawa appeals the trial court’s order granting

appellee Amick Storm Management, LLC’s Texas Rule of Civil Procedure 91a

1
     Pursuant to its docket-equalization authority, the Supreme Court of Texas transferred this
     appeal from the Court of Appeals for the Second District of Texas to this Court. See Misc.
     Docket No. 23-9079 (Tex. Sept. 26, 2023); see also TEX. GOV’T CODE § 73.001
     (authorizing transfer of cases). We researched relevant case law and did not locate any
     conflict between the precedent of the Court of Appeals for the Second District and that of
     this Court on any relevant issue. See TEX. R. APP. P. 41.3.
motion to dismiss Randhawa’s declaratory judgment action. In one issue, Randhawa

contends that the trial court erred in granting the motion because his suit has a basis

in law and fact and Amick’s res judicata defense is not supported by the pleadings.

He alternatively argues that the award of attorney’s fees contains an error and asks

us to correct the trial court’s judgment. We affirm as modified.

                                    Background

      In June 2017, Randhawa contracted with Amick for the repair and

replacement of the roof on his residence. When Randhawa failed to pay Amick the

full amount due, Amick filed suit against Randhawa on February 21, 2019.

Thereafter, Amick filed a constitutional mechanic’s lien on November 1, 2019 in the

amount of $11,347.12. Amick filed an amended petition on November 5, 2019,

asserting claims against Randhawa for breach of contract and quantum meruit and

seeking foreclosure of its lien.

      Though Randhawa was personally served with Amick’s lawsuit, he failed to

answer or otherwise appear. On November 6, 2020, Amick filed two motions for

entry of default judgment—the first seeking a judgment against Randhawa for the

amount due under the contract, plus attorney’s fees, and the second seeking a

judgment declaring Amick’s constitutional lien valid and enforceable. The trial court

granted both motions on November 10, 2020 and entered two separate judgments.




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Amick sent copies of the trial court’s judgments to Randhawa on December 1, 2020

and demanded payment. Randhawa did not respond.

      On March 30, 2022, Randhawa filed a Homestead Affidavit as Release of

Judgment Lien, claiming that the property at issue was his homestead. Amick

responded by filing its own Affidavit of Judgment Creditor Contradicting Debtor’s

Homestead Affidavit as Release of Judgment Lien, pointing to the trial court’s

judgment declaring the lien valid and disputing the purported release of the lien.

      On May 4, 2023, Randhawa filed the underlying lawsuit seeking a declaratory

judgment declaring Amick’s lien invalid and unenforceable. Randhawa claimed that

the applicable statute of limitations for filing a suit to foreclose the lien expired on

September 15, 2018, months before Amick filed its lawsuit. Randhawa included

Amick’s lien and the trial court’s judgment declaring the lien valid as exhibits to his

petition.

      Amick answered Randhawa’s lawsuit on June 2, 2023 asserting a general

denial and various affirmative defenses, including res judicata. Amick then moved

to dismiss Randhawa’s lawsuit pursuant to Texas Rule of Civil Procedure 91a. In its

motion, Amick argued that Randhawa’s suit was barred by res judicata, pointing to

the November 10, 2020 judgment declaring Amick’s lien valid and enforceable.

      Randhawa responded to the motion, arguing that his suit was based on facts

that arose after the November 10, 2020 default judgment. In his response, Randhawa


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contended that Amick’s failure to foreclose on the lien within one year of the trial

court’s judgment invalidated the lien and claimed that his suit sought “a declaration

that Amick’s lien is unenforceable today, in 2023, which is an issue that could not

have been litigated in 2020.” Randhawa claimed that his petition “does not challenge

whether Amick’s lien was valid in 2020 or whether the remedies specified in the

default judgment were unenforceable in 2020.”

      The trial court conducted a Zoom hearing on Amick’s motion to dismiss on

August 18, 2023 and signed an order granting the motion later that day. This appeal

followed.

                           Rule 91a Motion to Dismiss

      In his sole issue on appeal, Randhawa argues that the trial court erred in

granting Amick’s Rule 91a motion to dismiss because: (1) his suit has a basis in law

and fact, (2) Amick’s constitutional mechanic’s lien is invalid and unenforceable

due to Amick’s failure to obtain foreclosure within one year, (3) Amick’s filing of a

foreclosure suit in 2019 does not satisfy the one-year statute of limitations because

Amick failed to obtain a judgment of foreclosure, and (4) Amick’s res judicata

defense is not supported by the pleadings. Randhawa also argues that the trial court

made a typographical error in awarding attorney’s fees in the amount of “$27650”

instead of $2,750. We first consider whether Randhawa’s suit is barred by res

judicata because that issue would be dispositive of his appeal.


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A.    Standard of Review

      Texas Rule of Civil Procedure 91a allows a party to move for early dismissal

of a cause of action against it. See TEX. R. CIV. P. 91a; Ball v. City of Pearland, No.

01-20-00039-CV, 2021 WL 4202179, at *2 (Tex. App.—Houston [1st Dist.] Sept.

16, 2021, no pet.) (mem. op.). A trial court may dismiss a cause of action under Rule

91a if “it has no basis in law or fact.” TEX. R. CIV. P. 91a.1; Reynolds v. Quantlab

Trading Partners US, LP, 608 S.W.3d 549, 555 (Tex. App.—Houston [14th Dist.]

2020, no pet.). “A cause of action has no basis in law if the allegations, taken as true,

together with inferences reasonably drawn from them, do not entitle the claimant to

the relief sought.” TEX. R. CIV. P. 91a.1; Reynolds, 608 S.W.3d at 555. We review a

trial court’s decision on a Rule 91a motion to dismiss de novo. Bethel v. Quilling,

Selander, Lownds, Winslett &amp; Moser, P.C., 595 S.W.3d 651, 654 (Tex. 2020); Malik

v. GEICO Advantage Ins. Co., No. 01-19-00489-CV, 2021 WL 1414275, at *4 (Tex.

App.—Houston [1st Dist.] Apr. 15, 2021, pet. denied) (mem. op.).

      Rule 91a “permits motions to dismiss based on affirmative defenses.” Bethel,

595 S.W.3d at 656; see also Smale v. Williams, 590 S.W.3d 633, 637–38 (Tex.

App.—Texarkana 2019, no pet.) (affirming Rule 91a dismissal on res judicata

grounds); Seger v. Branda, No. 01-21-00224-CV, 2022 WL 17981559, at *10 (Tex.

App.—Houston [1st Dist.] Dec. 29, 2022, pet. denied) (mem. op.) (affirming grant

of Rule 91a motion based on affirmative defense of statute of limitations).


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      In ruling on a Rule 91a motion, the trial court “may not consider evidence”

and “must decide the motion based solely on the pleading of the cause of action,

together with any pleading exhibits” permitted by the Texas Rules of Civil

Procedure. TEX. R. CIV. P. 91a.6; see also Bethel, 595 S.W.3d at 654. But “[i]n

deciding a Rule 91a motion, a court may consider the defendant’s pleadings if doing

so is necessary to make the legal determination of whether an affirmative defense is

properly before the court.” Bethel, 595 S.W.3d at 656. A trial court may grant a Rule

91a motion to dismiss based on an affirmative defense if it meets the rule’s standard.

Id. If an affirmative defense cannot “be conclusively established by the facts in [the]

plaintiff’s petition” and requires consideration of evidence, “such [a] defense[] [is]

not a proper basis for a [Rule 91a] motion to dismiss.” Id. Evidence is typically

required to prove a res judicata defense. Reynolds, 608 S.W.3d at 556 (citing Fed.

Home Loan Mortg. Corp. v. Pham, 449 S.W.3d 230, 237 (Tex. App.—Houston [14th

Dist.] 2014, no pet.)).

B.    Res Judicata

      Res judicata, also known as claim preclusion, bars lawsuits that arise out of

the same subject matter as a prior suit when, with the use of diligence, that subject

matter could have been litigated in the prior suit. Eagle Oil &amp; Gas Co. v. TRO-X,

L.P., 619 S.W.3d 699, 705 (Tex. 2021) (citing Citizens Ins. Co. of Am. v. Daccach,

217 S.W.3d 430, 449 (Tex. 2007)). “The doctrine is necessary to ‘bring an end to


                                          6
litigation, prevent vexatious litigation, maintain stability of court decisions, promote

judicial economy, and prevent double recovery.’” Id. (quoting Daccach, 217 S.W.3d

at 449). A final judgment on an action extinguishes the right to bring suit on the

transaction, or series of connected transactions, out of which the action arose. Id.

(quoting Barr v. Resolution Tr. Corp., 837 S.W.2d 627, 631 (Tex. 1992) (internal

quotations omitted)). When determining whether a set of facts forms a transaction,

“the determination is to be made pragmatically, giving weight to such considerations

as whether the facts are related in time, space, origin, or motivation, whether they

form a convenient trial unit, and whether their treatment as a trial unit conforms to

the parties’ expectations or business understanding or usage.” Id. (quoting Barr, 837

S.W.2d at 631).

      The elements of res judicata are (1) a prior final judgment on the merits by a

court of competent jurisdiction, (2) identity of parties or those in privity with them,

and (3) a second action based on the same claims that were raised or could have been

raised in the first action. Id. (quoting Daccach, 217 S.W.3d at 449 (internal

quotations omitted)).

C.    Analysis

      Amick’s Rule 91a motion focused on res judicata. Thus, the trial court could

properly consider Amick’s answer in making the legal determination whether res

judicata was properly before it (and it was). See Bethel, 595 S.W.3d at 656 (noting


                                           7
that court may consider defendant’s pleadings in deciding Rule 91a motion to

determine whether affirmative defense is properly before court); Parker v. Ohio

Dev., LLC, No. 04-23-00069-CV, 2024 WL 1864756, at *5 (Tex. App.—San

Antonio Apr. 30, 2024, no pet. h.) (mem. op.) (same).

      On appeal, Randhawa contends that because the trial court cannot consider

any evidence in deciding a Rule 91a motion, and evidence is required to establish

res judicata, res judicata was not a proper basis for Amick’s Rule 91a motion.

Randhawa is correct that a trial court “may not consider evidence in ruling on the

[Rule 91a] motion.” TEX. R. CIV. P. 91a.6. However, Rule 91a.6 also provides that

the trial court “must decide the motion based solely on the pleading of the cause of

action, together with any pleading exhibits permitted by Rule 59.” Id. (emphasis

added). Randhawa argues that the trial court was prohibited from considering the

evidence attached to Amick’s Rule 91a motion. Even so, Randhawa overlooks the

fact that he attached the trial court’s November 10, 2020 judgment declaring

Amick’s lien valid as an exhibit to his petition, and such exhibits could be considered

in deciding Amick’s Rule 91a motion. See id.
      We next consider whether the trial court correctly determined that the

elements of res judicata were satisfied.




                                           8
      1.     Prior Final Judgment

      Amick first needed to demonstrate the existence of a prior final judgment on

the merits by a court of competent jurisdiction. Eagle Oil &amp; Gas Co., 619 S.W.3d at

705–06. Again, Randhawa attached a copy of the November 10, 2020 default

judgment declaring the lien valid and enforceable to its petition. “A default judgment

can constitute a determination on the merits for res judicata purposes.” FFGGP, Inc.

v. MTGLQ Invs., LP, 646 S.W.3d 30, 36 (Tex. App.—San Antonio 2022, no pet.)

(quoting In re Marriage of Mouret, 14-20-00050-CV, 2021 WL 1184190, at *3 (Tex.

App.—Houston [14th Dist.] Mar. 30, 2021, no pet.) (mem. op.) (internal quotations

omitted)).

      Here, the trial court’s November 10, 2020 judgment stated: “[t]he Court has

considered the pleadings and evidence on file and is of the opinion that [Amick’s]

constitutional lien is both valid and enforceable”; “This Court therefore GRANTS

[Amick’s] Motion for No-Answer Default Judgment Declaring [Amick’s]

Constitutional Lien Valid against Defendant Ranbir S. Randhawa and considers

[Amick’s] ability to bring a foreclosure action against the property that is subject to

the constitutional lien a valid post-judgment remedy once the time period for appeals

has expired.” By its language, the trial court’s judgment reached the merits of the

validity and enforceability of Amick’s lien. See McMillan v. Tally Two Inv. Grp.,

LLC, No. 03-18-00550-CV, 2019 WL 3680130, at *6 (Tex. App.—Austin Aug. 7,


                                          9
2019, no pet.) (mem. op.) (considering language of default judgment and holding

that judgment reached merits of validity and binding effect of deed for purposes of

res judicata); Reliance Cap., Inc. v. G.R. Hmaidan, Inc., No. 14-07-01059-CV, 2009

WL 1325441, at *4 (Tex. App.—Houston [14th Dist.] May 14, 2009, pet. denied)

(mem. op.). Further, Randhawa does not dispute this first element.

      2.      Both Suits Involve Same Parties

      Likewise, Randhawa does not dispute the second element of res judicata—

identity of parties. See Eagle Oil &amp; Gas Co., 619 S.W.3d at 706. The November 10,

2020 default judgment identifies the parties as Amick Storm Management and

Ranbir S. Randhawa, the same parties in Randhawa’s suit.

      3.      Same Claims at Issue in Both Suits

      As to the third element, Randhawa appears to argue to this court that his

lawsuit raises different claims than those presented in Amick’s original suit. For

example, Randhawa contends that his suit does not question the validity of Amick’s

lien at the time of the trial court’s November 10, 2020 judgment (the focus of

Amick’s suit); rather, he claims that his suit challenges the validity of the liens

thereafter.   But Randhawa’s arguments on appeal do not comport with the

allegations in his petition. To the contrary, Randhawa’s original petition for

declaratory judgment alleged the following:

      • In or around June 2017, Randhawa and Amick contracted for the repair
        and replacement of the roof at Randhawa’s property. The work performed

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         by Amick was completed in or around June 2017. Amick claims a lien
         against the subject property.

      • Pursuant to certain sections of the Texas Property Code, the last date for
        Amick to file a statutory lien was September 15, 2017; the deadline for
        Amick to file suit to foreclose the lien was September 15, 2018.

      • Instead, on February 21, 2019, more than five months past the deadline for
        filing suit to foreclose on the lien, Amick filed a lawsuit against Randhawa
        seeking monetary damages and to foreclose the lien.

      • On November 1, 2019, Amick filed an affidavit in Denton County, Texas
        claiming a lien on the property (Randhawa attached the lien as an exhibit).

      • On November 10, 2020, Amick obtained a judgment against Randhawa
        (attached as an exhibit). “However, the Judgment did not purport to
        foreclose the Lien, nor did it order the sale of the Property.” Instead, the
        judgment stated that the court “considers [Amick’s] ability to bring a
        foreclosure action against the property that is subject to the constitutional
        lien a valid post-judgment remedy once the time period for appeals has
        expired.” The judgment did not order foreclosure or somehow extend or
        revive the one-year statute of limitations that expired on September 15,
        2018.

      • Amick filed a judgment lien in Denton County, Texas on November 19,
        2020. “Even if [Amick’s] untimely Lawsuit and Judgment somehow
        extended or revived the one-year statute of limitations, which [Randhawa]
        denies, [Amick] still failed to foreclose on the Property within one year of
        entry of the Judgment or the expiration of the time to appeal the Judgment.”

      Texas follows a transactional approach to determine whether res judicata

applies. Barr, 837 S.W.2d at 631. Under this approach, “a subsequent suit is barred

if it arises out of the same subject matter as the prior suit, and that subject matter

could have been litigated in the prior suit.” Daccach, 217 S.W.3d at 449 (citing Barr,



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837 S.W.2d at 631). Determining what constitutes the subject matter of a suit for res

judicata purposes

      requires an analysis of the factual matters that make up the gist of the
      complaint, without regard to the form of the action. Any cause of action
      that arises out of those same facts should, if practicable, be litigated in
      the same lawsuit.

Barr, 837 S.W.2d at 630. In making this determination, courts “giv[e] weight to such

considerations as whether the facts are related in time, space, origin, or motivation,

whether they form a convenient trial unit, and whether their treatment as a trial unit

conforms to the parties’ expectations or business understanding or usage.” Daccach,

217 S.W.3d at 449 (internal quotations omitted). Ordinarily, “[w]here there is a legal

relationship, such as under a lease, a contract, or a marriage, all claims arising from

that relationship will arise from the same subject matter and be subject to res

judicata.” Pinebrook Props., Ltd. v. Brookhaven Lake Prop. Owners Ass’n, 77

S.W.3d 487, 497 (Tex. App.—Texarkana 2002, pet. denied).

      Here, Randhawa’s claims arise from Amick’s lien on the property—the same

lien made the basis of the November 10, 2020 default judgment. Further,

Randhawa’s lawsuit sought a determination as to the validity of the lien—a

determination made in the November 10, 2020 default judgment. Though Randhawa

argues that his suit did not challenge the validity of the lien at the time of the

November 10, 2020 default judgment, the averments in his petition demonstrate

otherwise.
                                          12
      Randhawa’s arguments concerning the application of various property code

sections and the statute of limitations for enforcement and foreclosure of a lien are

all issues that could have been litigated in the earlier proceeding. Instead, Randhawa

waited four years after Amick’s original suit (and two years after the trial court’s

default judgment) before filing his own suit. Res judicata bars such an attempt. See

Mitchell v. Fort Davis State Bank, 243 S.W.3d 117, 126 (Tex. App.—El Paso 2007,

no pet.) (“Because a challenge to the validity of the lien could have and should have

been raised before the bankruptcy court, the doctrine of res judicata precludes the

Mitchells from raising the defense in the state district court.”); Flippin v. Wilson

State Bank, 780 S.W.2d 457, 462 (Tex. App.—Amarillo 1989, writ denied) (holding

that because appellants failed to raise issue of lien validity in bankruptcy proceedings

to which they were parties, and in which issue could have been raised and

determined, res judicata precluded them from raising it in later suit); see also Rios

v. Town Nat’l Bank, No. 05-94-00980-CV, 1995 WL 375490, at *3–4 (Tex. App.—

Dallas June 19, 1995, writ denied) (not designated for publication) (holding res

judicata barred subsequent suit seeking declarations concerning lien invalidity and

wrongful foreclosure where prior bankruptcy order lifted automatic stay so creditor

could foreclose; court determined validity of lien was factual predicate in both

actions).




                                          13
      In conclusion, we determine that the allegations in Randhawa’s petition, taken

as true, together with inferences reasonably drawn from them, support the trial

court’s determination that his claims against Amick are barred by res judicata. See

TEX. R. CIV. P. 91a.1; Bethel, 595 S.W.3d at 655; see also Smale, 590 S.W.3d at

637–38 (affirming Rule 91a dismissal on res judicata grounds; court reviewed

appellant’s petition and exhibits thereto and determined claims asserted were

previously litigated); McMillan, 2019 WL 3680130, at *5 (affirming grant of Rule

91a motion based on res judicata; court noted that “matter actually litigated” in first

suit was validity of deed and judgment in that suit included declaration that deed was

valid; thus, subsequent suit’s request that deed be declared void was barred by res

judicata). The trial court did not err in granting Amick’s Rule 91a motion to dismiss

and dismissing Randhawa’s claims with prejudice based on the affirmative defense

of res judicata.

      We overrule Randhawa’s sole issue on appeal.

                                   Attorney’s Fees

      Randhawa alternatively argues that even if we uphold the trial court’s grant

of Amick’s Rule 91a motion to dismiss, we must nevertheless modify the judgment

to correct an error in the award of attorney’s fees. In its motion, Amick sought

attorney’s fees in the amount of $2,562.50. At the hearing, Amick’s counsel testified

to fees in the amount of $2,750. Counsel testified that she arrived at this figure based


                                          14
on a rate of $250 per hour and a total of eleven hours spent on the case at the time

of the hearing. At the conclusion of her testimony, the trial court stated that it was

“awarding attorney’s fees of $2,750 for the work to date.”

      Despite the evidence presented and the court’s oral pronouncement, the

court’s August 18, 2023 order on Amick’s Rule 91a motion included the following:




Randhawa contends this is a typographical error and asks us to modify the trial

court’s judgment. Amick’s appellate brief concedes the amount in the judgment is

erroneous. We therefore modify the judgment to reflect an award of $2,750 in

attorney’s fees. See TEX. R. APP. P. 43.2(b). We affirm the trial court’s judgment in

all other respects.



                                    Conclusion

      We affirm the trial court’s judgment as modified.



                                                    Amparo Monique Guerra
                                                    Justice

Panel consists of Justices Landau, Countiss, and Guerra.




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